                            UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF NORTH CAROLINA
                                CHARLOTTE DIVISION
                             DOCKET NO. 3:90-cr-00085-MOC

 UNITED STATES OF AMERICA                        )
                                                 )
                                                 )
                                                 )
 Vs.                                             )                      ORDER
                                                 )
 DARYL PERNELL CAMPS,                            )
                                                 )
                  Defendant.                     )



       THIS MATTER is before the court on Defendant’s Motion to Unseal Court Records

(#129). The time allowed for a government response has passed without any such response. LCrR

55.1; LCrR 47.1. By the instant motion, Defendant’s counsel Annette K. Ebright seeks to unseal all

pleadings and records pertaining to Defendant Daryl Pernell Camps in order to evaluate his case for

inclusion in the Clemency Project. See http://www.justice.gov/pardon/new-clemency-initiative. In

particular, Ms. Ebright seeks to unseal the Presentence Investigation Reports filed in 2009 and 2012

(##52, 53, 73, 97). Upon consideration of the Motion, the signed Authorization for Disclosure of

Protected Court Records, and for good cause shown, the court will grant the motion as to Ms.

Ebright for the sole purpose of the clemency proceedings.

                                             ORDER

       IT IS, THEREFORE, ORDERED that Defendant’s Motion to Unseal Court Records

(#129) is GRANTED, and the Clerk of Court is directed to unseal the pleadings and court records

in this matter as to Annette K. Ebright.

       IT IS FURTHER ORDERED that Ms. Ebright restrict use of any documents unsealed by

this Order to matters relating to the clemency proceedings for Defendant. Specifically, while



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              counsel may review the unsealed documents with Defendant, Defendant is not to retain any copy of

              the unsealed documents, including the Presentence Investigation Reports. Under no circumstances

              is counsel to share any documents unsealed by this Order with the press.



Signed: May 6, 2015




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